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 6                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
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 8   SHAWN VAN ASDALE, an individual,    )                 3:04-CV-0703-RAM
     and LENA VAN ASDALE, an individual, )
 9                                       )                 ORDER REGARDING BALLY
                 Plaintiffs,             )                 TECHNOLOGIES, INC., BALLY
10                                       )                 GAMING INTERNATIONAL,
           vs.                           )                 INC., AND BALLY GAMING, INC.’S
11                                       )                 MOTION REGARDING THE
     INTERNATIONAL GAME                  )                 SEALING ORDER
12   TECHNOLOGY, a Nevada corporation,   )
                                         )
13               Defendant.              )
     ____________________________________)
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            WHEREAS, the court, having considered Bally Technologies, Inc., Bally Gaming International,
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     Inc. and Bally Gaming, Inc.’s (collectively “Bally”) Motion Regarding the Sealing Order and the
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     supporting papers filed therewith, Defendant International Game Technology’s (“IGT”) Opposition,
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     argument on the motion and such other matters as the court deemed appropriate,
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            IT IS HEREBY ORDERED that:
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            1.     The Sealing Order in this case does not apply to discovery in IGT v. Alliance Gaming,
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                   Inc., et al., No. 2:04-CV-1676-RCJ (RJJ), pending in the District of Nevada (the “IGT-
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                   Bally Patent Litigation”), including any third party subpoenas issued by Bally to the
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                   parties, lawyers, experts or other individuals associated with this case. However, if Bally
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                   issues any third party subpoenas to the parties, lawyers, experts other individuals
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                   associated with this case in the IGT-Bally Patent Litigation, IGT shall be given an
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                   opportunity, within fourteen days, to lodge objections with the court in the IGT-Bally
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                   Patent Litigation.
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 1         2.    The Sealing Order shall also be lifted to allow Bally to receive copies of the following
 2               sealed documents in this matter: (a) the briefing related to IGT’s motions to modify
 3               subpoenas issued to Bruce Laxalt and David Spencer; (b) the transcripts from the two
 4               hearings resulting from these motions (which took place on March 21, 2006, and
 5               May 4, 2006); and (c) the two minute orders that this court issued following these
 6               hearings.
 7         DATED: October 25, 2006.
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 9                                              _________________________________________
                                                UNITED STATES MAGISTRATE JUDGE
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